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		OSCN Found Document:IN RE AMENDMENTS TO RULE 10 AND RULE 11 OF STATE BD. OF EXAMINERS OF CERTIFIED CTRM. INTERPRETERS

					

				
  



				
					
					
						
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				IN RE AMENDMENTS TO RULE 10 AND RULE 11 OF STATE BD. OF EXAMINERS OF CERTIFIED CTRM. INTERPRETERS2019 OK 49Decided: 06/24/2019THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2019 OK 49, __ P.3d __

				
NOTICE: THIS OPINION HAS NOT BEEN RELEASED FOR PUBLICATION. UNTIL RELEASED, IT IS SUBJECT TO REVISION OR WITHDRAWAL. 

In re: Amendments to Rule 10 and Rule 11 of the 
State Board of Examiners of Certified Courtroom Interpreters, 
20 O.S. 2011, ch. 23, app. II
ORDER
Rule 10 and Rule 11 of the State Board of Examiners of Certified Courtroom Interpreters, 20 O.S. 2011, ch. 23, app. II, are hereby amended as shown on the attached Exhibit "A." Rules 10 and 11 with the amended language noted are attached as Exhibit "B". The amended rules shall be effective June 28, 2019.
DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE THIS 24TH DAY OF JUNE, 2019.
/s/CHIEF JUSTICE
Gurich, C.J., Darby, V.C.J., Kauger, Winchester, Edmondson, Colbert and Combs, JJ., concur;

EXHIBIT A
Rules of the State Board of Examiners of Certified Courtroom Interpreters
Title 20, Chapter 23, Appendix II
Rule 10. Fees
The applicable fee must be paid for each examination or orientation training taken by a candidate. The fee will be forfeited if the candidate fails to appear for the examination or training, fails to cancel before the applicable deadline, or fails to complete the examination or training, unless an exception is granted by the Board.
Rule 11. Certified Courtroom Interpreter Requirements and Oral Interpreter Examination
a) To become a Certified Courtroom Interpreter in a spoken language, the candidate must:
1) Be currently enrolled as a Registered Courtroom Interpreter in Oklahoma in accordance with these Rules; and
2) Pass the NCSC Court Interpreter Oral Examination in the language being certified.
b) The NCSC Court Interpreter Oral Examination prescribed in the paragraph above shall be conducted at least once per calendar year and shall consist of the following three sections: Simultaneous Interpreting, Consecutive Interpreting, and Sight Translation of Documents. The Sight Translation section of the exam consists of two parts -- sight translation of a document written in English interpreted orally into the non-English language and sight translation of a document written in the non-English language interpreted into oral English.
1) To pass the Court Interpreter Oral Examination, the candidate shall receive an overall score of seventy percent (70%) or better in each of the three sections of the examination. The scores of Part I and Part II of the Sight Translation section are combined for one overall score for that section.
2) The oral examination shall be administered and rated in accordance with the test administration and rating protocols of the NCSC.
3) The Board shall charge the applicant a fee in an amount approved by the Supreme Court for each section of the oral examination.
4) A candidate must initially take all three sections of the oral exam in the same test sitting, and may retain credit for passing score(s) on each section of the exam for twenty-four (24) months, unless an exception is granted by the Board. During the 24-month period, the candidate must retest at least once per year, and may take only the exam section(s) the candidate has not passed.
5) If more than one version of the NCSC oral examination for the same language is available, an applicant who fails to pass the oral examination must wait six (6) months to re-test, and must take a different version of the examination. An applicant may not take the same version of the oral examination more than once in a twelve (12) month period.
6) An applicant who has passed the NCSC oral examination in another state within the past twenty-four (24) months may apply to the Board for recognition of the score. The applicant shall prove to the satisfaction of the Board that the passing score is substantially comparable to that required by this Rule.
c) For languages in which the NCSC oral exam is unavailable, the Board may utilize an abbreviated NCSC oral examination, if one is available. If no abbreviated NCSC oral examination is available, the Board may, at its discretion, recognize other oral proficiency examinations or interviews on a per-language basis.

_EXHIBIT B
Rules of the State Board of Examiners of Certified Courtroom Interpreters
Title 20, Chapter 23, Appendix II
Rule 10. Fees
The applicablefull fee must be paid for each examination or orientation training taken by a candidate. The fee will be forfeited if the candidate fails to appear for the examination or training, fails to cancel before the applicable deadline, or fails to complete the examination or training, unless an exception is granted by the Board.
Rule 11. Certified Courtroom Interpreter Requirements and Oral Interpreter Examination
a) To become a Certified Courtroom Interpreter in a spoken language, the candidate must:
1) Be currently enrolled as a Registered Courtroom Interpreter in Oklahoma in accordance with these Rules; and
2) Pass the NCSC Court Interpreter Oral Examination in the language being certified.
b) The NCSC Court Interpreter Oral Examination prescribed in the paragraph above shall be conducted at least once per calendar year and shall consist of the following three sections: Simultaneous Interpreting, Consecutive Interpreting, and Sight Translation of Documents. The Sight Translation section of the exam consists of two parts -- sight translation of a document written in English interpreted orally into the non-English language and sight translation of a document written in the non-English language interpreted into oral English.
1) To pass the Court Interpreter Oral Examination, the candidate shall receive an overall score of seventy percent (70%) or better in each of the three sections of the examination. The scores of Part I and Part II of the Sight Translation section are combined for one overall score for that section.
2) The oral examination shall be administered and rated in accordance with the test administration and rating protocols of the NCSC.
3) The Board shall charge the applicant a fee in an amount approved by the Supreme Court for each section of the oral examination.
4) A candidate must initially take pass all three sections of the oral exam in the same test sitting, and may retain . A candidate who fails to achieve a passing score on one or more of the three sections credit for passing score(s) on each section of the exam for twenty-four (24) months, unless an exception is granted by the Board. During the 24-month period, the candidate must must retest at least once per year, and may take only the exam section(s) the candidate has not passed entire oral exam.
5) If more than one version of the NCSC oral examination for the same language is available, an applicant who fails to pass the oral examination must wait six (6) months to re-test, and must take a different version of the examination. An applicant may not take the same version of the oral examination more than once in a twelve (12) month period.
6) An applicant who has passed the NCSC oral examination in another state within the past twenty-four (24) months may apply to the Board for recognition of the score. The applicant shall prove to the satisfaction of the Board that the passing score is substantially comparable to that required by this Rule.
c) For languages in which the NCSC oral exam is unavailable, the Board may utilize an abbreviated NCSC oral examination, if one is available. If no abbreviated NCSC oral examination is available, the Board may, at its discretion, recognize other oral proficiency examinations or interviews on a per-language basis.




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